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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


MICHAEL BOWMAN, on behalf of himself
and a similarly situated class,                         Case No. 17-11630

         Plaintiff,                                     Honorable Nancy G. Edmunds

v.

ART VAN FURNITURE, INC.,

         Defendant.
                                         /


                                       JUDGMENT


     A judgment of dismissal with prejudice is hereby entered pursuant to the Court’s

Opinion and Order Granting Plaintiff’s Motion For Final Approval Of Class Action

Settlement, each side retaining the right to enforce the terms of the settlement agreement

and their respective obligations pursuant to that order.



     SO ORDERED.

                                             s/Nancy G. Edmunds
                                             Nancy G. Edmunds
                                             United States District Judge


Dated: February 4, 2019

I hereby certify that a copy of the foregoing document was served upon counsel of record
on February 4, 2019, by electronic and/or ordinary mail.

                                             s/Lisa Bartlett
                                             Case Manager
